1    TERRY A. DAKE, LTD.
     20 E. Thomas Rd.
2    Suite 2200
     Phoenix, Arizona 85012-3133
3    Telephone: (602) 710-1005
     tdake@cox.net
4
     Terry A. Dake - 009656
5
     Attorney for Trustee
6
                        IN THE UNITED STATES BANKRUPTCY COURT
7
                               FOR THE DISTRICT OF ARIZONA
8
     In re:                              )    In Chapter 7 Proceedings
9                                        )
     WILLIAM JAY ADLER,                  )
10   TRUDI BARBARA ADLER,                )    Case No. 2:17-BK-01813-MCW
                                         )
11                            Debtors.   )
                                         )
12
                                   REPORT OF SALE
13
                The trustee files herewith a copy of the auctioneer’s report
14
     regarding the auction of estate property conducted pursuant to the
15
     Notice Of Auction Sale at Admin Dkt. No. 44. The assets that were sold
16
     are identified in the attached report.           This sale report is filed in
17
     compliance with Bankruptcy Rule 6004.
18
                DATED August 22, 2017.
19
                                         TERRY A. DAKE, LTD.
20
                                         By /s/ TD009656
21                                           Terry A. Dake – 009656
                                             20 E. Thomas Rd.
22                                           Suite 2200
                                             Phoenix, Arizona 85012-3133
23                                           Attorney for Trustee

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    Seller Settlement
 
                                                                                                                          Invoice #: Mackenzie/Adler‐71832‐1

    Cunningham and Associates, Inc. / AuctionAZ.com, LLC
    PO Box 67087
    Phoenix, AZ 85082
    Phone: (602) 595‐6714


      Seller Information                                                              Auction Information
       Seller Name:            Adler, Mackenzie                                       Auction:                BK Warehouse 7.19.17
       
       Seller Number:          Mackenzie/Adler                                        Date:                   07/14/2017 08:00
       
       Company:                Mackenzie/Adler 2:17‐BK‐01813‐MCW                      Location:               6520 N. 27th Ave
                                                                                                              Phoenix, AZ 85017
       Location:
       
       Phone:




       Lot                                                                      Buyer                 Buyer                            Lot         Lot
       Num                                     Description                      First               Last Name           Bid          SubTotal      Net
                                                                                Name

      241          1950 Steinway Grand Piano model S cabinet with bench       Tom                 Westbrook         $6,500.00        $6,500.00   $6,500.00
                   sn#331989S

      242          Fishing Yachts painting 724/750 32" wide x 36" tall        Joel                Gunning              $76.00           $76.00     $76.00

      243          Anatole Krasnyansky Streets of Old Prague Serio            Kerry               Winkle              $127.50          $127.50    $127.50
                   lithograph 40" tall x 35"wide

      244          Linda Lekinff "Annabella" Serio lithograph 36"tallx 40"    Bonnie              Dombrowski           $65.01           $65.01     $65.01
                   wide

      245          Print with 2 Indians and Red Rock background 37 1/2 tall   Nancy               Harpin               $35.00           $35.00     $35.00
                   x 29 1/2 wide

      246          Print by Robert Redbird‐Indian & Eagle 27"wide x 33 1/4    Trudi               Adler                $42.50           $42.50     $42.50
                   tall

      247          Anatole Krasnyansky "Silver and Pink with Horns"           Bonnie              Dombrowski           $80.00           $80.00     $80.00
                   serigraph #71 of 95 19" tall x 23"wide

      248          Indian print by R.C Somar #68 of 100 24" tall x 20" wide   Trudi               Adler                $46.50           $46.50     $46.50

      249          Anatole Krasnyansky "Sunset Old Church" Serio lithograph   Trudi               Adler                $70.00           $70.00     $70.00
                   19" tall x 21" wide #191 of 350

      250          Anatole Krasnyansky "Sound of the City" on canvas          Joel                Gunning             $325.00          $325.00    $325.00
                   19"wide x 18"tall

      251          Ignor Medredev "Golden Arrival" serigraph 2301 of 2500     Trudi               Adler                $50.00           $50.00     $50.00
                   34"wide x 19 1/2"tall

      252          Perz "Refreshments" #54 of75 24"tall x 23"wide             Joel                Gunning              $12.60           $12.60     $12.60

      253          The Precious Legacy Picture 32" tall x 12" wide            Christopher         Slawinski              $5.00           $5.00       $5.00

      254          2 Indians sitting outside their house picture              Nancy               Harpin               $35.00           $35.00     $35.00

      256          The Vatean Collections picture 36" tall x 230" wide        Trudi               Adler                $91.50           $91.50     $91.50

      257          Large wood 4 slat contemporary artwork 53" x 43"           Charles             Costa                $10.00           $10.00     $10.00

      258          Male and Female and the Bear sand art 10" x 10"            Joel                Gunning              $41.00           $41.00     $41.00

      259          Slayer Alien God sand art 10" x 10"                        Pete                Sivers               $30.00           $30.00     $30.00

      260          Balloon and Flags, "Circus Wagon" and "The Fiat" wood      Greg                Gumz                 $15.00           $15.00     $15.00
                   plaques

      261          6" x 8" Lizard sand art                                    Pete                Sivers               $15.00           $15.00     $15.00

      262          Asus tablet computer with windows 8‐ working               Daryl               Yee                  $82.00           $82.00     $82.00

      263          New York life 10k gold ring                                Trudi               Adler               $180.00          $180.00    $180.00

      264          14k gold plated and pearl ring                             Trudi               Adler               $125.10          $125.10    $125.10
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265     Bulova self winding watch working                       Pete          Sivers         $15.00         $15.00         $15.00

267     14k small gold bracelet                                 Randy         Fennell        $30.00         $30.00         $30.00

268     Top tray of jewelry box costume rings, bracelets and    Randy         Fennell        $10.10         $10.10         $10.10
        earrings

269     Bottom of jewelry box with gold filled bracelet shell   Randy         Fennell        $10.00         $10.00         $10.00
        necklace and other costume jewelry

270     4 pearl necklaces with gold clasps                      Randy         Fennell       $120.20        $120.20      $120.20

271     Bag of costume jewelry                                  jafet         coronado       $10.00         $10.00         $10.00

272     Bag of costume jewelry                                  jafet         coronado        $5.00           $5.00         $5.00

274     Bag of costume jewelry                                  jafet         coronado        $5.00           $5.00         $5.00

275     Bag of misc. watches                                    jafet         coronado        $5.00           $5.00         $5.00

276     4 silver necklaces with pendants                        Trudi         Adler          $15.50         $15.50         $15.50

277     4 Cowparade cows                                        Trudi         Adler          $45.00         $45.00         $45.00

278     4 Cowparade cows                                        Trudi         Adler          $45.00         $45.00         $45.00

279     4 Cowparade cows                                        Carrick       Sears          $40.00         $40.00         $40.00

280     4 Cowparade cows                                        Kevin         Enriquez       $35.00         $35.00         $35.00

281     6 Cowparade cows                                        Carrick       Sears          $65.00         $65.00         $65.00

282     5 baseball and basketball bobble heads                  jafet         coronado       $10.00         $10.00         $10.00

283     4 Decorative poles                                      Trudi         Adler          $15.00         $15.00         $15.00

285     Box of sewing, knitting and cook books                  Rita          Roberts         $5.00           $5.00         $5.00

287     Box of old books, 3 Musketeers and more                 Joel          Gunning         $5.00           $5.00         $5.00

288     Box of cook books and game books                        Joel          Gunning         $5.00           $5.00         $5.00

290     Box of Arizona highways magazines                       Paul          DeLaney &       $5.00           $5.00         $5.00
                                                                              Carol Hahn

291     Box of various books                                    Christopher   Slawinski       $5.00           $5.00         $5.00

292     Box of Will Durant books and more                       Christopher   Slawinski       $5.00           $5.00         $5.00

294     Large lot of National Geographic magazines              Christopher   Slawinski       $5.00           $5.00         $5.00

1                                                                                          $8,575.51      $8,575.51    $8,575.51




                                                                                                       Summary
                                                                                                       Auction Gross   $8,575.51
                                                                                                       Commissions         ($0.00)
                                                                                                       Expenses            ($0.00)
                                                                                                       Credits              $0.00
                                                                                                       Auction Net     $8,575.51
                                                                                                       Total Paid           $0.00
                                                                                                       Balance Due     $8,575.51




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